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                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; et al.,
                                                    Civil Action No.: 2:20-CV-966-NR
                Plaintiffs,

       v.

KATHY BOOCKVAR; et al.,

                Defendants.

                       MOTION FOR ADMISSION PRO HAC VICE OF
                               ADRIEL I. CEPEDA DERIEUX
       Proposed Intervenors the National Association for the Advancement of Colored People

(“NAACP”) Pennsylvania State Conference, Common Cause Pennsylvania, League of Women

Voters of Pennsylvania, Patricia DeMarco, Danielle Graham Robinson, and Kathleen Wise

(collectively, “Applicants”) respectfully move for the admission pro hac vice of Adriel I. Cepeda

Derieux pursuant to Local Civil Rules 83.2 and 83.3, should this court grant their Motion to

Intervene (ECF No. 103).

       Attached hereto is an Affidavit for movant Adriel I. Cepeda Derieux, in support of this

motion, as well as a certificate of good standing from the New York State Bar.


 Dated: July 22, 2020                                /s/ Adriel I. Cepeda Derieux
                                                     Adriel I. Cepeda Derieux
                                                     American Civil Liberties Union Foundation
                                                     125 Broad Street, 18th Floor
                                                     New York, NY 10004
                                                     Tel.: (212) 549-2500
                                                     acepedaderieux@aclu.org
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                                CERTIFICATE OF SERVICE


       I certify that a true and correct copy of the foregoing Motion for Admission Pro Hac Vice

was served on all counsel of record by means of the Court’s electronic filing system.



                                                    /s/ Adriel I. Cepeda Derieux
                                                    Adriel I. Cepeda Derieux
 Dated: July 22, 2020
